

Matter of Clinton v Board of Elections in the City of N.Y. (2021 NY Slip Op 04992)





Matter of Clinton v Board of Elections in the City of N.Y.


2021 NY Slip Op 04992


Decided on September 15, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 15, 2021

Before: Webber, J.P., Kern, Singh, Scarpulla, Mendez, JJ. 


Index No. 157708/21 Appeal No. 14304 Case No. 2021-03237 

[*1]In the Matter of John Clinton, Petitioner-Appellant, 
vThe Board of Elections in the City of New York, Respondent, Ronald Castorina, Jr., et al., Respondents-Respondents.


Stanley Kalmon Schlein, Bronx, for appellant.
Ronald Castorina, Jr., respondent pro se.
Law Offices of Steven Balson-Cohen, Staten Island (Steven Balson-Cohen of counsel), for Paul Marrone, Jr., Anthony Reinhart, Jessica Rios, John Cilmi and The Richmond County Republican Committee, respondents.



Judgment, Supreme Court, New York County (Carol R. Edmead, J.), entered on or about August 26, 2021, unanimously affirmed, for the reasons stated by Edmead, J., without costs or disbursements.
No opinion. Order filed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 15, 2021








